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04/05/2024                         UNITED STATES JUDICIAL PANEL                           04/05/2024
                                                on
                                    MULTIDISTRICT LITIGATION



IN RE: REALPAGE, INC., RENTAL SOFTWARE
ANTITRUST LITIGATION (NO. II)                                                                    MDL No. 3071



                                       (SEE ATTACHED SCHEDULE)



                             CONDITIONAL TRANSFER ORDER (CTO −6)



On April 10, 2023, the Panel transferred 20 civil action(s) to the United States District Court for the Middle
District of Tennessee for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. § 1407. See
669 F.Supp.3d 1372 (J.P.M.L. 2023). Since that time, 16 additional action(s) have been transferred to the
Middle District of Tennessee. With the consent of that court, all such actions have been assigned to the
Honorable Waverly D. Crenshaw, Jr.

It appears that the action(s) on this conditional transfer order involve questions of fact that are common to the
actions previously transferred to the Middle District of Tennessee and assigned to Judge Crenshaw.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict Litigation,
the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the Middle District of
Tennessee for the reasons stated in the order of April 10, 2023, and, with the consent of that court, assigned
to the Honorable Waverly D. Crenshaw, Jr.

This order does not become effective until it is filed in the Office of the Clerk of the United States District
Court for the Middle District of Tennessee. The transmittal of this order to said Clerk shall be stayed 7 days
from the entry thereof. If any party files a notice of opposition with the Clerk of the Panel within this 7−day
period, the stay will be continued until further order of the Panel.



                                                           FOR THE PANEL:

                               Apr 04, 2024

                                                           Tiffaney D. Pete
                                                           Clerk of the Panel
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  IN RE: REALPAGE, INC., RENTAL SOFTWARE
  ANTITRUST LITIGATION (NO. II)                                                  MDL No. 3071



                      SCHEDULE CTO−6 − TAG−ALONG ACTIONS



    DIST      DIV.      C.A.NO.      CASE CAPTION


  NEW YORK SOUTHERN

    NYS        1       24−02036      Kabisch v. RealPage, Inc. et al

  TEXAS WESTERN

    TXW        1       24−00281      Kabisch v. CONTI Texas Organization, Inc.

  WASHINGTON WESTERN

    WAW        2       24−00373      Kabisch v. RealPage Inc et al




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